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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF TEXAS

In re: Tuesday Morning Corporation Case No. 20-31476
NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE. Transferee hereby gives evidence and notice

pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the
claim referenced in this evidence and notice.

 

 

Bradford Capital Holdings, LP KAS Oriental Rugs Inc.

Name of Transferee Name of Transferor

Name and address where transferee payments Scheduled Claim Number: 482008300
should be sent: Scheduled Claim Amount: $332,146.00
c/o Bradford Capital Management, LLC Proof of Claim Number: 10174

PO Box 4353 Proof of Claim Amount: $333,260.00

Clifton, NJ 07012

Attn: Brian Brager

Phone: 862-249-1349

Email: bbrager@bradfordcapitalmgmt.com

 

 

 

 

I declare under penalty of perjury that the information provided in this notice is true and correct
to the best of my knowledge and belief.

Bradford Capital Holdings, LP
By: Bradford Capital GP, LLC, its General Partner

By: /s/ Brian Brager Date: 10/02/2020
Transferee/Transferee’s Agent

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C.
§§ 152 & 3571

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EVIDENCE OF TRANSFER OF CLAIM

TO: United States Bankruptcy Court
Northern District of Texas
Attention: Clerk

AND TO: Tuesday Morning Corporation (“Debtor”)

Case No. 20-31476

Proof of Claim Number: 10174

Proof of Claim Amount:$333,260.00
Scheduled Claim # 482008300
Scheduled Claim Amount: $332,146.00

Kas Oriental Rugs, Inc. its successors and assigns (“Assignor”), for good and valuable consideration the receipt and
sufficiency of which is hereby acknowledged, does hereby unconditionally and irrevocably sell, transfer and assign unto:

Bradford Capital Holdings, LP
Attention: Brian L. Brager

PO Box 4353

Clifton, NJ07012

its successors and assigns (“Assignee”), all rights, title and interest, claims and causes of action in and to, or arising under
or in connection with, its claim (as such term is defined in Section 101(5) of the U.S. bankruptcy Code}, in and to the
claim of Assignor, including all rights of stoppage in transit, replevin and reclamation, (the “Claim”) against the Debtor in
the Bankruptcy Court, or any other court with ju risdiction over the bankruptcy proceedings of the Debtor.

Assignor hereby waives any objection to the transfer of the Claim to Assignee on the books and records of the Debtor
and the Bankruptcy Court, and hereby waives to the fullest extent permitted by law any notice or right to a hearing as
may be imposed by Rule 3001 of the Federal Rules of Bankruptcy Procedures, the Bankruptcy Code, applicable local
bankruptcy rules or applicable law. Assignor acknowledges, understands and agrees, and hereby stipulates that an
order of the Bankruptcy Court may be entered without further notice to Assignor transferring to Assignee the Claim and
recognizing the Assignee as the sole owner and holder of the Claim.

You are hereby directed to make all future payments and distributions, and to give all notices and other
communications, in respect of the Claim to Assignee.

IN WITNESS WHEREOF, each of the undersigned has executed this Evidence of Transfer by its duly authorized
representative dated asof_ Or? / 2020.

Kas Oriental Rugs, Inc. Bradford Capital Holdings, LP
By Bradford Capital GP, LLC, its General Partner

Name: K In, Y, A ad a, Name: 858F5F65980341E...
Title: 5, HM Ya g . Title: Brian Brager
MPS dent .

Managing Member

 
